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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


   DONALD J. TRUMP,

                             Plaintiff,

                  v.
                                                             Case No. 2:22-cv-14102-DMM
   HILLARY R. CLINTON, et al.,

                             Defendants.


                       DEFENDANT HFACC, INC.’S RULE 7.1 DISCLOSURE

            Defendant HFACC, Inc., pursuant to Rule 7.1 of the Federal Rules of Civil Procedure,

   states that it has no parent corporation and that no publicly held corporation owns 10% or more of

   its stock.


   Dated: May 17, 2022                                 Respectfully Submitted


                                                       /s/Paola Pinto
                                                       Paola Pinto (Florida Bar Number 1013933)
                                                       Robert P. Trout *
                                                       SCHERTLER ONORATO MEAD & SEARS
                                                       555 13th Street, N.W.
                                                       Suite 500 West
                                                       Washington, D.C. 20004
                                                       Phone: (202) 628-4155
                                                       ppinto@schertlerlaw.com
                                                       rtrout@schertlerlaw.com



                                                      *Admitted pro hac vice


                                                      Attorneys for Defendant HFACC, Inc.
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 17, 2022, I caused to be filed electronically the foregoing with

   the Clerk of the Court using the CM/ECF system which will send notification of such filing to all

   counsel of record on this matter who are on the CM/ECF system.

                                                        /s/ Paola Pinto
                                                        Paola Pinto




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